Case 1:19-cr-20706-RKA Document 7 Entered on FLSD Docket 10/30/2019 Page 1 of 4
                                                               FILED 8~ ~ D.C.

                                                                                       OCT 2 9 2019
                             UNITED STATES DISTRICT COURT                               AN~~LAE.NOBLE
                             SOUTHERN DISTRICT OF FLORIDA                              ~~.'1,K,:uFE4°!sr.cr.

                            Case   NI D~~-
                                      u.s.c.
                                       18
                                             2 0 7 0 6 CR UNGARO.
                                                 § 1956(h)                  '     •
                                                                                                      MIAMI


                                       18 u.s.c. § 982
                                                                           MAGIST!U\~f~        JUDGE
 UNITED STATES OF AMERICA                                                       O'SULLIVAN. /

 vs.

 ALVARO ESTUARDO COBAR BUSTAMANTE,

                        Defendant.
 ------------------------------------'
                                          INDICTMENT

        The Grand Jury charges that:

        Beginning in or around January 2015, the exact date being unknown to the Grand Jury, and

 continuing until the date of the return of this Indictment, in Miami-Dade County, in the Southern

 District of Florida, and elsewhere, the defendant,

                       ALVARO ESTUARDO COBAR BUSTAMANTE,

 did knowingly and willfully combine, conspire, confederate and agree with other persons known

 and unknown to the Grand Jury, to commit certain offenses against the United States, in violation

 of Title 18, United States Code, Section 1956, that is, to conduct financial transactions involving

 property represented to be the proceeds of specified unlawful activity with the intent to conceal

 and disguise the nature, location, source, ownership and control of property believed to be proceeds

 of specified unlawful activity, in violation ofTitle 18, United States Code, Section 1956(a)(3)(B).

        It is further alleged that the specified unlawful activity is the felonious importation,

 receiving, concealing, buying, selling, and otherwise dealing in a controlled substance, punishable

 under the laws of the United States and Guatemala.
Case 1:19-cr-20706-RKA Document 7 Entered on FLSD Docket 10/30/2019 Page 2 of 4




        All in violation of Title 18, United States Code, Section 1956(h).

                                FORFEITURE ALLEGATIONS

        1.      The allegations of this Indictment are re-alleged and incorporated herein for the

 purpose of alleging criminal forfeiture to the United States of America of certain property in which

 the defendant, ALVARO ESTUARDO CO BAR BUSTAMANTE, has an interest.

        2.      Upon conviction of a violation ofthe offense charged this Indictment, the ~efendant

 shall forfeit to the United States any property, real or personal, involved in such   offen~e,   or any

 property traceable to such property, pursuant to Title 18, United States Code, Section 98~(a)(l).

                All pursuant to Title 18, United States Code, Section 982(a)(l) and the procedures

 set forth in Title 21, United States Code, Section 853.

                                                      A TRUE BILL



                                                       FOREPERSON


 ARIANA FAJARDO ORSHAN
 UNITED STATES ATTORNEY



 w~SZrn~
 ASSISTANT UNITED STATES ATTORNEY




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 Case 1:19-cr-20706-RKA Document 7 Entered on FLSD Docket 10/30/2019 Page 3 of 4
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA


UNITED STATES OF AMERICA                            CASE NO.

vs.
ALVARO ESTUARDO COBAR                               CERTIFICATE OF TRIAL ATTORNEY*
BUSTAMANTE,
              Defendant.
                                                    Superseding Case Information:


Court Division:   (Select One}                      New Defendant(s)                       Yes          No_
                                                    Number of New Defendants
_x_    Miami      __          Key West              Total number of counts
       FTL                    WPB _        FTP
       I do hereby certify that:
       1.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the lndictmenUinformation attached hereto.
       2.         I am aware that the information supplied on this statement will be relied upon by the J~Jdges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
                  Title 28 U.S.C. Section 3161.
       3.         Interpreter:    (Yes or No)         Yes
                  List language and/or dialect                Spanish

       4.         This case will take     _5_       days for the parties to try.
       5.         Please check appropriate category and type of offense listed below:
                  (Check only one)                                      (Check only one)

       I          0 to 5 days                           X                           Petty
       II         6 to 10 days                                                      Minor
       Ill        11 to 20 days                                                     Misdem.
       IV         21 to 60 days                                                     Felony         X
       v          61 days and over
       6.      Has this case been previously filed in this District Court? (Yes or No)             No
       If yes:
       Judge:                                             Case No.
       (Attach copy of dispositive order)
       Has a complaint been filed in this matter?         (Yes or No)
       If yes:
       Magistrate Case No.                        19-mj-03536-Goodman
       Related Miscellaneous numbers:
       Defendant(s) in federal custody as of
       Defendant(s) in state custody as of
       Rule 20 from the                                   District of
       Is this a potential death penalty case? (Yes or No)                 No


       7.         Does this case originate from a matter pending in the Northern Region ofthe U.S. Attorney's Office prior
                  to October 14, 2003? _ _ Yes              _x._ No




*Penalty Sheet(s) attached                                                                                      REV 5/3/17
Case 1:19-cr-20706-RKA Document 7 Entered on FLSD Docket 10/30/2019 Page 4 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: ALVARO ESTUARDO CO BAR BUSTAMANTE

  Case No: ____________________________________________________________


   Count#: 1

   Conspiracy to commit money laundering

   Title 18, United States Code, Section 1956(h)

   *Max. Penalty: 20 Years' Imprisonment




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
